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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

 DEBORAH LAUFER, Individually,

          Plaintiff,
                                                   CASE NO.: 1:19-CV-00281-AW-
  vs.
                                                   GRJ
  P & R HOSPITALITY, LLC,

          Defendant.
                                               /

   STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

        THE PARTIES, by and through their respective undersigned counsel, hereby

stipulate to the voluntary dismissal of this action, with prejudice.

Respectfully submitted,


/s/Philip Michael Cullen, III         / s / Nicole Sieb Smith
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                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 27, 2020, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to the following: Philip Michael Cullen, III, at

culleniii@aol.com.


                              / s / Nicole Sieb Smith
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